Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 1 of 39 PageID 5618



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

 E. VALERIE SMITH,

                Plaintiff,

 v.                                        Case No: 2:14-cv-50-FtM-29MRM

 FLORIDA            GULF         COAST
 UNIVERSITY            BOARD        OF
 TRUSTEES,

                Defendant.



                                  OPINION AND ORDER

        This matter comes before the Court on the defendant Florida

 Gulf       Coast   University    Board   of   Trustees’   Motion   for   Summary

 Judgment (Doc. #64) filed on January 19, 2016.             Plaintiff filed an

 Opposition (Doc. #79) on February 16, 2016. 1

        On December 23, 2014, the Court issued an Opinion and Order

 (Doc. #21) granting defendant’s Motion to Dismiss Complaint as to

 the portions of Counts I, II, and III of the Amended Complaint

 (Doc. #8) finding that the adverse actions resulting in a denial

 of a raise and being placed on probation were both time barred,

 but the case could proceed as to the nonrenewal and termination of

 employment.         Count I of the Amended Complaint alleges that the




        1
       Plaintiff thereafter filed two Notices of Scrivener’s Error
 to Correct Plaintiff’s Opposition. (Docs. ## 81, 82.)
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 2 of 39 PageID 5619



 nonrenewal of plaintiff’s employment contract, resulting in her

 termination, was race discrimination under Title VII; Count II

 alleges that these actions were national origin discrimination

 under Title VII; and Count III alleges that these actions were

 gender discrimination under Title VII.         Count IV alleges a claim

 of retaliation under Title VII.

                                      I.

       Summary   judgment    is   appropriate   only   when   the   Court   is

 satisfied that “there is no genuine issue as to any material fact

 and that the moving party is entitled to judgment as a matter of

 law.”    Fed. R. Civ. P. 56(a).      “An issue of fact is ‘genuine’ if

 the record taken as a whole could lead a rational trier of fact to

 find for the nonmoving party.”       Baby Buddies, Inc. v. Toys “R” Us,

 Inc., 611 F.3d 1308, 1314 (11th Cir. 2010).           A fact is “material”

 if it may affect the outcome of the suit under governing law.

 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).                 “A

 court must decide ‘whether the evidence presents a sufficient

 disagreement to require submission to a jury or whether it is so

 one-sided that one party must prevail as a matter of law.’”

 Hickson Corp. v. N. Crossarm Co., Inc., 357 F.3d 1256, 1260 (11th

 Cir. 2004)(citing Anderson, 477 U.S. at 251).

       In ruling on a motion for summary judgment, the Court views

 all evidence and draws all reasonable inferences in favor of the

 non-moving party.     Scott v. Harris, 550 U.S. 372, 380 (2007); Tana



                                      2
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 3 of 39 PageID 5620



 v. Dantanna’s, 611 F.3d 767, 772 (11th Cir. 2010).            However, “if

 reasonable minds might differ on the inferences arising from

 undisputed facts, then the court should deny summary judgment.”

 St. Charles Foods, Inc. v. America’s Favorite Chicken Co., 198

 F.3d 815, 819 (11th Cir. 1999) (quoting Warrior Tombigbee Transp.

 Co. v. M/V Nan Fung, 695 F.2d 1294, 1296 (11th Cir. 1983) (finding

 summary judgment “may be inappropriate even where the parties agree

 on the basic facts, but disagree about the factual inferences that

 should be drawn from these facts”)).         “If a reasonable fact finder

 evaluating the evidence could draw more than one inference from

 the facts, and if that inference introduces a genuine issue of

 material fact, then the court should not grant summary judgment.”

 Allen v. Bd. of Pub. Educ., 495 F.3d 1306, 1315 (11th Cir. 2007).

                                      II.

       A. Florida Gulf Coast University (FGCU)

       Florida Gulf Coast University (FGCU) is a public university

 with several colleges, including the College of Arts and Sciences

 (CAS).    (Doc. #8 & Doc. #22, ¶ 5; Doc. #64, p. 3.)        Within CAS are

 several departments, including the Department of Behavioral and

 Social Sciences (the DBSS).       (Doc. #8 & Doc. #22, ¶ 14; Doc. #64,

 p. 4.)    The majority of CAS’s faculty, including plaintiff, are

 engaged    under    a   three-year    rolling    Continuing    Multi   Year

 Appointment (CMYA) contract and evaluated annually at the end of

 the academic year (August – May).          (Doc. #75-3, p. 101.)



                                       3
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 4 of 39 PageID 5621



       Plaintiff E. Valerie Smith (Smith or plaintiff) is an African-

 American female born in the United States.          (Doc. #8 & Doc. #22,

 ¶ 7.)     In September 1996, plaintiff joined FGCU as a founding

 faculty member and professor of sociology, and was hired on a CMYA.

 (Id. at ¶¶ 9, 12.)       In or around 2005, Dr. Eric Strahorn (Chair

 Strahorn) became plaintiff’s supervisor and the Chair of the DBSS.

 (Doc. #64, p. 4; Doc. #79, p. 17.)

       During the relevant academic years, Dr. Donna Price Henry

 (Dean Henry) was the Dean and chief academic officer for CAS, and

 responsible    for   managing    and   overseeing   the   Department    and

 department chairs, including Chair Strahorn, and then Dr. Joseph

 Cudjoe (Chair Cudjoe) who became chair in 2008.                Dean Henry

 reported to FGCU’s provost or Vice-President of Academic Affairs

 (VPAA), Bonnie Yegidis (Provost Yegidis), and later to Dr. Ronald

 Toll (Provost Toll) who took the position in 2008.             The provost

 reports directly to the President, Dr. Wilson Bradshaw (President

 Bradshaw).    (Doc. #64, p. 4; Doc. #79, pp. 4, 6.)

       Three documents relate to the evaluation of CAS faculty:          (1)

 FGCU’s Collective Bargaining Agreement (CBA), which sets wages,

 hours, and terms and conditions of employment, Doc. #75-3, p. 58;

 (2) FGCU’s Faculty Performance Evaluation Document (FPED), which

 sets forth the procedures and standards for evaluating faculty,

 Doc. #72-2, p. 14, Exh. 4; and (3) CAS’s Performance and Evaluation

 Criteria and Process (PECAP), Doc. #65-9, p. 27; Doc. #72-2, p.



                                        4
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 5 of 39 PageID 5622



 80, Exh. 6, which covers procedures and standards for evaluating

 faculty within CAS to the extent that the document does not

 contradict or invalidate the university-wide Faculty Performance

 Evaluation     Document.   The   FPED   controls    over   any   inconsistent

 provision of the PECAP, and the CBA overrides both documents.              If

 the FPED is silent or unspecific on any matter that is addressed

 by the PECAP, the authority of the PECAP is not restricted.            (Doc.

 #66-2, Belcher 1, p. 5, § 2.2.1.)             Thus, the hierarchy of the

 relevant documents is the CBA, the FPED, and then the PECAP.

        B. Faculty Evaluation Process

        On May 6th of each year, at the beginning of the evaluation

 period, the faculty member submits a Performance Development Plan

 (PDP) outlining the individual’s academic goals and objectives for

 the   next    academic   year,   including    teaching,    scholarship,    and

 service.      (Doc. #75-3, Toll Exh. 12, p. 11.)       By March 31st of the

 academic year, faculty members must submit an Annual Professional

 Development Report (Development Report) to their department chair

 outlining how they met their PDP, and include the course syllabi,

 student evaluations, scholarly works, and community activities.

 Additional documentation may be submitted until April 23rd.            (Id.)

 By    April   30th,   after   review    of   the   Development    Report   and

 conferring with the faculty member, the department chair must issue

 a Performance Review Report (Performance Report) to the faculty

 member summarizing the faculty member’s performance.             By May 31st,



                                         5
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 6 of 39 PageID 5623



 an evaluation conference between the faculty member and supervisor

 must take place to review the Performance Report for the concluding

 evaluation year, and the Development Report for the new evaluation

 year.    (Id.)       The Final PDP is completed and signed by September

 30th of the following academic year.                 (Id., Toll Exh. 12, p. 12;

 Toll Exh. 20, p. 203.)

        If the faculty member receives an “overall satisfactory”

 Performance      Report,       the    faculty     member    receives    a   one-year

 contract extension, thereby maintaining a full three-year contract

 cycle.    (Id., Toll Exh. 12, p. 13; Toll Exh. 20, p. 202.)                  If not,

 the faculty member is placed on one-year of probation to remedy

 deficiencies, with no contract extension added for the duration of

 the probationary period.             (Id.)    This may be appealed through the

 Peer Review Committee (PRC).             (Id., Toll Exh. 12, p. 14; Toll Exh.

 20, p. 202.)

        During probation, and by September 30th, the faculty member

 must    draft    a   one-year    Performance         Improvement   Plan     (PIP)    or

 Performance Improvement Contract (PIC) to address deficiencies,

 set forth objectives, and identify a plan of action for the

 academic year.        This PIP takes the place of the PDP for the next

 evaluation period.         By March 15th of the probationary academic

 year, the faculty member must have submitted a Development Report-

 PIC to their supervisor demonstrating fulfillment of the PIP.                       Two

 weeks    thereafter,      by     March       31st,   the   supervisor     submits    a



                                               6
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 7 of 39 PageID 5624



 recommendation to the PRC for CAS with regard to whether the

 faculty member satisfied the PIP.              By April 30th, the PRC submits

 its evaluation and recommendation to the dean, who makes the final

 decision on whether the faculty member satisfied the PIP and

 whether the faculty member should return to a full three-year CMYA.

 (Doc. #64, pp. 6-7.)

       By May 6th, the dean makes the final decision based on the

 recommendations        and     provides   written    notice    of   renewal   or

 nonrenewal to the faculty member.             If the dean decides not to renew

 the contract, or if the dean’s decision is different than the

 recommendations of the PRC, by June 1st the dean must provide a

 written report or dissenting report to the provost regarding the

 decision.        The dean’s decision may be appealed to the provost, and

 the provost retains authority to review and modify the final

 decision of the dean.          (Id., pp. 7-8.)

       C. Plaintiff’s Past Academic Years: 1996 to 2007

            (1)    Academic Years 1996 to 2005-06

       For her 1997-1998 Annual Evaluation, plaintiff received an

 overall rating of exceeds expectations and signed and attached her

 statement in response on March 26, 1999.                 (Doc. #65-4, Def. Exh.

 1,   pp.    1-3.)      Until    the   academic    year    2005-2006,   plaintiff

 generally received satisfactory evaluations, and mostly excellent




                                           7
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 8 of 39 PageID 5625




 or very good student assessments with a few anomalies. 2         (Doc. #64,

 p. 9; Doc. #65-4, Def. Exhs. 5-10, pp. 219-256.)

           (2)   Academic Year 2006-07

       Starting from the 2006-2007 academic year going forward,

 plaintiff started receiving increased low ratings from students

 and   was   late   submitting   her   Development    Report.     The   Annual

 Evaluation for the Summer 2006-Spring 2007 found that plaintiff

 overall did not meet expectations, and that no Development Report

 had been submitted “despite multiple requests and reminders.”

 (Doc. #65-4, Def. Exh. 27, pp. 148-49.)         In his June 7, 2007 letter

 to plaintiff, Chair Strahorn expressed that Smith had failed to

 meet some of the basic requirements of the position, including:

 difficulty meeting routine deadlines, a lack of accessibility, and

 failing to provide even colleagues and her supervisor with routine

 information in a timely fashion.          (Id., p. 148.)   On June 20, 2007,

 Chair Strahorn signed the second page to indicate that plaintiff

 had refused to sign the Annual Evaluation.             (Id., p. 149.)     On




       2For example, for Spring 1999, the Student Assessment for
 The African-American Experience Course was 100% “Excellent”, Doc.
 #65-4, Def. Exh. 5, p. 223, but for Fall 2000, the Student
 Assessment for the Multicultural Issues Course reflects a split
 between “Very Good” and “Fair”, but no “Excellent” ratings and
 several “Poor” ratings, id., Def. Exh. 7, p. 228. The Spring 2005
 Latin American Experience Course shows Student Assessments in all
 categories, while the Fall 2005 Medical Sociology Course and Spring
 2006 Caribbean Social Structures Course show mostly “Excellent”
 assessment responses. (Id., Def. Exhs. 10-11, pp. 248, 252, 254.)



                                       8
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 9 of 39 PageID 5626



 June 20, 2007, plaintiff emailed Chair Strahorn apologizing that

 her Development Report was late, citing reasons including sickness

 and no access to materials while in Brazil.         (Id. at Def. Exh. 28,

 p. 150.)      On June 21, 2007, plaintiff finally submitted her

 Development Report.      (Id. at Def. Exh. 43, p. 176.)     Chair Strahorn

 acknowledged receipt on June 25, 2007.         (Id. at Def. Exh. 30, p.

 158.)

       By email dated September 14, 2007, Chair Strahorn responded

 that plaintiff’s evaluation would not be revised, and that she had

 missed the chance to work with him to put together a PIP, but that

 she was welcome to work with him to craft the PIC, which would be

 similar to past PDPs.       (Id. at Def. Exh. 42, p. 175.)        On October

 9, 2007, Chair Strahorn emailed plaintiff to remind her that the

 deadline to submit a PIC had passed, and if not received by October

 12, 2007, he would “have no choice other than to finalize the

 document without [plaintiff’s] input.”         (Id. at Def. Exh. 44, p.

 204.)

       By letter dated October 10, 2007, to Dean Henry and Provost

 Yegidis, plaintiff submitted a portfolio and memo as an attachment

 to her evaluation to appeal the evaluation.         (Id. at Def. Exh. 43,

 p. 176.)    On October 12, 2007, Chair Strahorn acknowledged receipt

 of plaintiff’s PDP.      (Id. at Def. Exh. 46, p. 208.)     After repeated

 emails    from   Chair   Strahorn,   on   October   25,   2007,    plaintiff

 submitted her PIP.       (Id. at pp. 208-10, Def. Exhs. 46-48 & p. 211,



                                      9
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 10 of 39 PageID 5627



  Def. Exh. 49.)        On November 29, 2007, Chair Strahorn provided a

  corrected version of his Performance Report, dated November 7,

  2007, finding that plaintiff overall met expectations.                (Id. at

  Def. Exh. 45, pp. 205-207.)

           (3)    Academic Year: 2007-2008

         For the 2007-2008 academic year, complaints from students

  continued and increased, see, e.g., Doc. #65-7, pp. 1-36; Doc.

  #65-6, pp. 1-87, and plaintiff also continued to submit documents

  late.    On March 24, 2008, Chair Starhorn sent an urgent reminder

  email to staff regarding the March 31, 2008 deadline for all full-

  time    faculty      to   submit    their    Development   Reports,   and   the

  additional deadlines leading to the submission of the final PDP.

  (Doc. #65-6, Def. Exh. 65, p. 88.)            By email dated April 1, 2008,

  plaintiff submitted her Development Report to Chair Strahorn. (Id.

  at Def. Exh. 66, p. 89.)           Chair Strahorn noted there was an error

  that needed correction, and after having been out of town, on April

  24, 2008, plaintiff emailed Chair Strahorn her revised Development

  Report, and updated CV.        (Id. Def. Exh. 67, p. 93.)       A few minutes

  later, plaintiff sent another email asking Chair Strahorn to

  disregard the earlier submission as revisions and updates were

  required.      (Id. at Def. Exh. 69, p. 105.)

         On April 30, 2008, Chair Strahorn provided plaintiff a copy

  of the Performance Report, and highlighted that May 31, 2008 was

  set    aside   for    evaluation     conferences    between   supervisor    and



                                          10
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 11 of 39 PageID 5628



  faculty.    (Id. at Def. Exh. 70, p. 106; Doc. #65-7, Def. Exh. 91,

  p. 52.)     This time, Chair Strahorn’s Performance Report found

  plaintiff overall did not meet expectations (Doc. #65-6, Def. Exh.

  70, p. 107) requiring plaintiff to submit a PIP for the next

  academic year of 2008-2009 rather than a regular PDP (id. at Def.

  Exh. 75, p. 116).      Plaintiff did not sign the Performance Report,

  and Chair Strahorn signed the Report on August 5, 2008, indicating

  the refusal to sign.       (Id. at Def. Exh. 79, p. 126.)          Plaintiff

  sent Chair Strahorn additional documentation in a bid to change

  his mind, but he responded that no substantive changes would be

  made.    (Doc. #65, Plaintiff Dep. 186:23.)         By email dated June 2,

  2008, Chair Strahorn reminded plaintiff about her right to appeal

  to the dean.    (Doc. #65-6, Def. Exh. 75, p. 116.)           By email dated

  July 15, 2008, Chair Strahorn provided plaintiff with a PIC because

  plaintiff did not submit a timely PIP.            (Id. at Def. Exh. 76, p.

  118.)

         Pursuant to a Memorandum dated July 21, 2008, to Provost Toll

  from    President    Bradshaw,   Provost   Toll    was   designated   as   the

  President’s designee for purposes of administering and executing

  FGCU’s    academic    agreements,   approving     personnel    actions,    and

  acting in the President’s absence.          (Doc. #65-9, Def. Exh. 106,

  pp. 21-22.)    This delegation of authority included approval of a

  faculty contract renewal or nonrenewal.            (Doc. #66, Belcher Dep.




                                       11
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 12 of 39 PageID 5629



  45:12-18.)        In August 2008, Chair Cudjoe took over the role Chair

  Strahorn had held.

              (4)    Academic Year 2008-2009; Plaintiff’s Termination

         By    Memorandum       dated   December     18,    2008,    to    Dean   Henry,

  plaintiff took issue with her Performance Report and with Chair

  Strahorn.         (Doc. #65-7, Def. Exh. 90, pp. 36-42.)                By Memorandum

  dated February 23, 2009, to Provost Toll, plaintiff requested a

  meeting to discuss her evaluations over the previous two years,

  and for enclosed materials to be placed in her personnel file.

  (Id. at Def. Exh. 91, p. 43.)

         On March 12, 2009, Chair Cudjo emailed plaintiff to follow-

  up on the completion of her PIC and to remind her of the upcoming

  deadline for her to submit her documentation.                     (Id. at Def. Exh.

  93, p. 62.)        On March 27, 2009, Chair Cudjoe provided his Probation

  Review to the Chair of the PRC, in light of former Chair Strahorn’s

  overall evaluation of unsatisfactory.                 (Id. at Def. Exh. 94, p.

  65.)        Chair    Cudjoe     recommended   to    the    PRC    that    plaintiff’s

  probationary status be removed and her status be changed back to

  a   CMYA      because     the     expected    areas       for     improvement    were

  administrative in nature, plaintiff had shown improvement in the

  conditions of the PIC, and plaintiff was making a deliberate effort

  to improve.         (Id. at pp. 65-66.)

         By Memorandum dated April 21, 2009, Provost Toll notified

  plaintiff that her Performance Report for 2007-2008 would remain



                                           12
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 13 of 39 PageID 5630



  unchanged and retained, and that she would not now be permitted to

  add her comments since, as of August 2008, plaintiff had refused

  to sign the Performance Report and it was not until December 18,

  2008, that she had requested a meeting with the next higher level

  administrator.    (Doc. #65-7, p. 133, Def. Exh. 97.)

        By letter dated April 21, 2009, the PRC notified Dean Henry

  that they reached the conclusion that plaintiff had satisfied the

  requirements of the PIC, and that they concurred with Chair Cudjoe

  that her probationary status be removed and plaintiff return to a

  CMYA.   (Doc. #65-8, Def. Exh. 98, p. 1.)

        In an email dated May 1, 2009, to plaintiff, Dean Henry

  indicated that she had reviewed the APDR-PIC, and the input of the

  PRC and Chair Cudjoe.      Dean Henry requested that plaintiff submit

  additional supporting materials required by the PECAP, including

  a Development Report, by May 5, 2009.             Otherwise, a decision

  regarding renewal would be made based on the current submissions.

  (Doc. #65-8, Def. Exh. 101, pp. 7-8; Doc. #65-9, p. 119.)           On May

  4, 2009, Dean Henry directed an employee to print and place the

  email in plaintiff’s mailbox.       (Id., p. 7; id., p. 119.)

        In a letter dated May 6, 2009, Dean Henry notified plaintiff:

              That   you   have    overall  unsatisfactory
              performance for the 2008-2009 academic year.
              Consistent with the Collective Bargaining
              Agreement Articles 15.1 D. and 12.2 A., I am
              giving you notice that your current contract
              will not be renewed beyond the May 6, 2010




                                      13
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 14 of 39 PageID 5631



               date.   No further notice         of   cessation   of
               employment is required.

  (Doc. #65-8, Def. Exh. 103, p. 11.)

         Plaintiff did not consider herself terminated based on this

  letter because, in her view, it did not follow proper procedure.

  (Doc. #65, Plaintiff Dep. 236:9-21.)           In a Memorandum dated May

  12, 2009, plaintiff made an internal grievance to the Grievance

  Committee Chair of the United Faculty of Florida (UFF) against

  Dean   Henry   for   failure   to   adhere    to    the   procedures   in   the

  Collective Bargaining Agreement.          (Doc. #65, Plaintiff Dep. 239:8-

  14; Doc. #65-8, Def. Exh. 105, p. 18.)

         In a letter dated May 18 and 19, 2009, to plaintiff, Dean

  Henry referenced the May 6, 2009, letter and plaintiff’s May 7,

  2009, e-mail requesting a basis for the decision, and provided her

  “rationale” for the overall unsatisfactory performance.                 (Doc.

  #65-9, Def. Exhs. 108-109, pp. 98, 166, 179, 258.)                On May 19,

  2009, plaintiff sent an email request for informal resolution to

  Provost Toll, which was acknowledged.          (Id. at Def. Exh. 109, pp.

  172, 174.)     By letter dated May 22, 2009, Dean Henry submitted her

  “Dean’s Report” to Provost Toll serving as her “dissenting report”

  for a final decision for renewal or non-renewal of plaintiff’s

  contract.      It was noted that the documents were submitted to

  Provost Toll “for final decision for renewal or non-renewal of

  [plaintiff’s] contract.”       (Id., p. 178.)




                                       14
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 15 of 39 PageID 5632



        An informal resolution meeting was held on May 29, 2009, with

  plaintiff, two United Faculty of Florida (UFF) representatives,

  and an Associate Provost for Academic Affairs in attendance.                      At

  a second informal resolution meeting held on July 14, 2009, Dean

  Henry and the Appointed Mediator joined in attendance.                (Doc. #65-

  9, Def. Exh. 109, pp. 203, 274.)             On or about July 16, 2009, the

  informal resolution process was concluded because the dispute

  could not be resolved, thereby allowing plaintiff to proceed with

  the filing of a grievance.       (Id., p. 195.)

        On July 23, 2009, plaintiff filed her Step 1 Grievance. (Id.,

  p. 201.)      It was agreed that the Step 1 decision requirement would

  be extended from August 21, 2009 to August 28, 2009.                 (Id. at Def.

  Exh. 110, p. 268.)

        On August 17, 2009, Dean Henry emailed the Director of Human

  Resources for FGCU, Steve Belcher, a copy of her May 19, 2009

  letter   to    plaintiff   providing     the   basis    for    her   decision     of

  nonrenewal in response to plaintiff’s email.                  (Id. at Def. Exh.

  109, p. 256-259.)       By letter dated August 28, 2009, Doc. #65-9,

  Def. Exh. 109, p. 101, FGCU, through Steve Belcher, provided

  plaintiff     the   University   Step    1   Decision    denying     the   Step    1

  grievance originally filed on July 23, 2009, and noting:

                The   faculty   member   did  not  request   a
                conference with the dean regarding the content
                of the Dean's report prior to its submittal to
                the VPAA.    Additionally, the faculty member
                failed to appeal the Dean’s decision according



                                          15
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 16 of 39 PageID 5633



              to the PECAP requirements.      Instead the
              faculty member filed for Informal Resolution
              under Article 20 of the CBA.

  (Id., p. 108). The decision went on to find that the VPAA (Provost)

  had not rendered a decision under the PECAP because plaintiff filed

  under   Article   20   prior   to   the    Dean   providing   a   response   to

  plaintiff’s request for the basis of the Dean’s decision:

              Additionally, the Grievant did not exercise
              her right under the PECAP to schedule a
              conference with the Dean to be informed of the
              content of the Dean's report prior to its
              submittal to the VPAA, opting to instead file
              under Article 20. She did not follow the PECAP
              and file an appeal of the Dean's decision to
              the VPAA. The UFF representative for Dr. Smith
              acknowledged during the Step 1 meeting that
              the grievant prematurely filed the Request for
              Informal Resolution rather than filing an
              appeal directly with the VPAA under the PECAP.
              The Dean provided her dissenting report to the
              Provost on May 22, 2009. Since there is no
              specified timeline for the VPAA's decision
              under the PECAP, the Grievant inappropriately
              filed a grievance alleging that the VPAA did
              not provide a decision.

  (Id.)   FGCU concluded that both parties failed to take appropriate

  action under the respective requirements of the PECAP and the CBA,

  and directed the Provost to render a decision on the dean’s dissent

  within 10 calendar days of the decision.                “This directive is

  consistent with the PECAP requirement of a final decision by the

  VPAA [Provost].”       (Id., p. 109.)       Plaintiff was not required to

  initiate an appeal to the Provost from the Dean’s dissenting




                                        16
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 17 of 39 PageID 5634



  recommendation, but it was her right to do so.                   (Doc. #66, Belcher

  Dep. 73:14-74:2.)

        By letter dated September 4, 2009, Provost Toll sent plaintiff

  a letter “[i]n response to the dissenting report from your Dean”

  stating that after an independent review he found that plaintiff’s

  overall     performance       for     the        2008-2009    academic       year     was

  unsatisfactory.        (Id. at Def. Exh. 111, p. 271.)                    Plaintiff was

  notified in the letter that her employment would not be renewed,

  and she would not be offered further appointment beyond September

  8, 2010.         Provost Toll concluded with “[n]o further notice of

  cessation of employment is required.”                (Doc. #65-9, Def. Exh. 106,

  p. 14.)     Plaintiff was notified of her right to grieve the decision

  if she believed that there had been a violation of the Collective

  Bargaining Agreement.         (Id.)

        By letter dated September 7, 2009, a Summary of Information

  Resolution       was   sent   to    plaintiff       describing      the    timeline    of

  informal resolution through August 2009.                 (Id. at Def. Exh. 112,

  pp. 272-276.)

        D. Plaintiff’s Post-Nonrenewal Actions

        (1)       Grievance Proceedings

        A FGCU/UFF Grievance form was received in the Office of the

  Provost on October 20, 2009, indicating that plaintiff was filing

  a   Step    2    Grievance    alleging      a     violation    of    the     Collective

  Bargaining Agreement and the PECAP.                     Informal Resolution was



                                              17
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 18 of 39 PageID 5635



  cancelled in favor of filing the Grievance.               (Id. at Def. Exh.

  106, p. 18.)      A Step Two Decision dated October 20, 2009, found no

  violations of the Collective Bargaining Agreement.            (Id., p. 1.)

        On December 2, 2009, plaintiff made a Step 3 Request for

  Arbitration in connection with the Step 2 decision of FGCU.           (Id.,

  p. 282.)    On February 3, 2010, a Notice of Intent to Arbitration

  was provided.      (Id., p. 283.)      After a hearing on April 12, 2010,

  the Opinion and Award (id. at Def. Exh. 113, p. 277) found that

  the two grievances were not in violation of Collective Bargaining

  Agreement Section 20.15, which provided that “[a] grievance which

  has been filed at Step 3 and on which no action has been taken by

  the Grievant or UFF State Office for sixty (60) days shall be

  deemed withdrawn and resolved in accordance with the decisions

  issued at the prior step.”       (Id., p. 280.)       More specifically, the

  arbitrator found that the February 3, 2010 Notice of Intent to

  Arbitration was not received by FGCU until 75 days from the Step

  3 Request for Arbitration, and that the grievance was deemed

  withdrawn and resolved in accordance with the decision issued at

  the prior step.      (Id. at p. 281.)

        (2)   Plaintiff’s EEOC Filings

        On June 28, 2010, plaintiff signed and swore her charge of

  Discrimination to the Equal Employment Opportunities Commission

  (EEOC) (Doc. #64-3, Composite Exh. A, p. 5), which was stamped

  received    and    filed   on   June    30,   2010.      Plaintiff   alleged



                                         18
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 19 of 39 PageID 5636



  discrimination against FGCU on the basis of race and age for the

  period of May 30, 2009 through September 4, 2009.               On July 8, 2010,

  plaintiff filed an Amended Charge of Discrimination (id. at p. 6)

  adding     sex   and    retaliation   as     a   basis    for     discrimination.

  Plaintiff stated her employment with FGCU would be effectively

  terminated on September 8, 2010.             (Id.)   Neither Charge document

  included reference to national origin as a basis for plaintiff’s

  claim of discrimination.

        On October 28, 2013, a Recommendation for Closure (Doc. #64-

  3) was issued by the EEOC indicating that the evidence did not

  support the allegations of discrimination.               (Doc. #64-3, Composite

  Exh. A, p. 3.)         On or about October 31, 2013, plaintiff received

  her Dismissal and Notice of Rights letter from the EEOC.                         The

  original Complaint herein was filed on January 28, 2014.                    (Doc.

  #1; Doc. #8, ¶ 55b.)

                                        III.

        The Court previously determined that plaintiff’s Title VII

  discrimination claims were limited to the nonrenewal of her CMYA

  and her resulting termination.         Smith v. Florida Gulf Coast Univ.

  Bd.   of   Trustees,     No.   214-CV-50-FTM-29DNF,        Doc.    #21,   2014   WL

  7337415, at *4 (M.D. Fla. Dec. 23, 2014).                The preliminary issue

  is whether these remaining Title VII claims are time-barred.

  Defendant argues that the Dean’s decision dated May 6, 2009, was

  the final decision which triggered the 300-day filing deadline



                                         19
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 20 of 39 PageID 5637



  with the EEOC.     Plaintiff maintains that the clock did not start

  until the Provost issued his September 4, 2009 decision. The Court

  agrees with plaintiff on this issue.

        A. General Principles

        Before filing a Title VII lawsuit, a plaintiff must first

  file a timely EEOC charge.      Wilkerson v. Grinnell Corp., 270 F.3d

  1314, 1317 (11th Cir. 2001).      In a deferral state such as Florida,

  plaintiff’s EEOC charge had to be filed with the EEOC within 300

  days “after the alleged unlawful employment practice occurred.”

  42 U.S.C. § 2000e-5(e)(1).       See EEOC v. Joe's Stone Crabs, Inc.,

  296 F.3d 1265, 1271 (11th Cir. 2002).         Only “those claims arising

  within 300 days prior to the filing of the EEOC's discrimination

  charge are actionable.” Joe's Stone Crabs, Inc., 296 F.3d at 1271.

  The Supreme Court has said, perhaps unhelpfully, that an unlawful

  employment practice “occurred” within the meaning of § 2000e-

  5(e)(1) when it “happened.”       AMTRAK v. Morgan, 536 U.S. 101, 109

  (2002) (hostile work environment claim).           Identifying when the

  alleged discrimination occurred in this case requires a review of

  some relevant FGCU procedures and documents.

        B. Renewal or Nonrenewal of Faculty Employment at FGCU

        Under the CBA, Article 12, employees are entitled to a one

  year notice regarding non-reappointment if they have been employed

  for 2 or more continuous years.          The CBA does not contradict the

  timeline or steps leading up to notice set forth in the FPED.



                                      20
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 21 of 39 PageID 5638



  (Doc. #75-3, Toll 13, pp. 92-93.)            The Article 20 grievance

  procedures may take place simultaneously, and the grievant may

  file an EEOC charge while it is in progress and when it becomes

  necessary.    (Id., p. 138.)

        The process under the FPED for faculty members on a CMYA but

  placed on probation following the previous year’s CMYA extension

  review is as follows:

                •   The unit's chief academic administrator
                    [Dean] will make the final decision with
                    respect   to    the   faculty   member's
                    evaluation and contract extension based
                    on the recommendations and documentation
                    provided.

                •   In the event the unit's chief academic
                    administrator [Dean] believes the Peer
                    Review     Committee's    findings    are
                    inconsistent with the unit's evaluation
                    procedures and criteria, that individual
                    [Dean] may contest the Peer Review
                    Committee's findings by providing his or
                    her findings and accompanying documents
                    to the Vice President of Academic Affairs
                    [Provost].

                •   The faculty member shall have the
                    opportunity    to   review    the   final
                    recommendation of his or her unit's chief
                    academic administrator [Dean] and, if
                    dissatisfied      with      the     final
                    recommendation, may provide a written
                    response and appeal to the Vice President
                    of Academic Affairs [Provost] for review
                    of the evaluation.

  (Doc. #75-3, Toll 20, p. 204.)       The FPED provides that the unit’s

  chief academic administrator or Dean “must submit written report

  to the Vice President of Academic Affairs”.       (Id.)   Under the FPED,



                                      21
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 22 of 39 PageID 5639



  if the Dean disagrees with the PRC’s findings, the Dean may contest

  the findings by providing the findings to the Provost “with whom

  the final decision on evaluation and contract extension rests.”

  (Id.)

        The FPED process is consistent with the PECAP.        Under § 3.3.1

  of the PECAP, as it pertains to the PIC remediation evaluation

  process by the faculty member’s supervisor and the PRC, the Dean

  communicates    the   “final   decision   regarding   extension   or   non-

  extension of the CMYA.”        (Doc. #75-3, Toll Exh. 12, pp. 14-15.)

  Under §§ 3.3.2 and 3.3.3.4 of the PECAP, the Dean “shall submit”

  a written report justifying the decision to renew or not renew the

  faculty member’s CMYA to the Provost by June 1st.             The faculty

  member has the right to schedule a conference with the Dean with

  regard to the contents of the report prior to its submission, and

  “[a]ny appeal by the faculty member of the Dean’s decision must be

  directed to the VPAA at this time and in this form.”           (Doc. #66-

  2, Belcher Exh.1, pp. 16, 17.)      Under § 3.3.4 of the PECAP, if the

  result of the evaluation is nonrenewal,

              . . . and this finding is upheld through any
              appeal or legal action, then he/she shall
              remain not in good standing for the duration
              of the employment contract in effect, and no
              contract extension shall be offered.       The
              informal appeal mechanisms of § 3.91 shall be
              unavailable to faculty members in this
              instance, since they are replaced by the right
              of direct appeal to the VPAA [Provost].




                                      22
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 23 of 39 PageID 5640



  (Id., p. 17.)        Under § 3.3.5, if the Dean disagrees with the

  findings of the PRC, the Dean must submit a dissenting report to

  the Provost with a copy of the Peer Review Evaluation, and the

  Provost “shall then render the final decision regarding renewal or

  nonrenewal.”        (Id., pp. 17-18.)           Under the timeline for this

  process, § 3.4.2, the Dean makes her renewal recommendation to the

  Provost on or before April 15th, and the Provost “shall inform the

  faculty member of the final renewal or non-renewal decision” by

  April 30th.    (Id., p. 19.)

         C. When Alleged Discrimination Occurred in this Case

         Plaintiff’s supervisor and the PRC concurred that plaintiff’s

  probationary status should be removed and her CMYA renewed.                     The

  Dean and the Provost each rejected this position, declined to renew

  the CMYA, and terminated plaintiff effective in a year.                 Defendant

  FGCU wants the Dean’s decision to be the final, operative “final

  decision”    which    triggered     plaintiff’s     obligation     to    file   her

  claims with the EEOC.           The effect of this would be that the EEOC

  charges were untimely.

         On May 6, 2009, Dean Henry issued her letter finding plaintiff

  had an “overall unsatisfactory performance”, and gave notice to

  plaintiff that her contract would not be renewed beyond a year

  from   the   date    of   the    letter,    i.e.,   that   she   was    terminated

  effective May 6, 2010.          (Id. at Def. Exh. 103, p. 11.)         In a letter

  dated May 22, 2009, Dean Henry notified Provost Toll that her



                                             23
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 24 of 39 PageID 5641



  written report would serve as the dissenting report required by

  3.3.5 of the PECAP, and that it was being submitted for a “final

  decision”   regarding    renewal   or    non-renewal.    (Id.,   p.   178.)

  Despite Dean Henry submitting her report in order to obtain a

  “final decision” from the Provost, FGCU argues that it was really

  the Dean who made the final decision, albeit subject to the

  Provost’s ability “review and modify”.        Thus, defendant stated in

  part to the Request for Admissions:

              1.   The   final   decision    regarding   the
              termination for Smith’s employment rested with
              Dr. Ronald Toll.

                   Response:    Denied as phrased. . . .

              Upon receipt of either an appeal by the
              faculty member or a dissenting report or both,
              Dr. Toll has complete authority to review and
              modify the final decision of the Dean of CAS.
              (PECAP at 003927-003928) Dr. Toll also has
              complete authority to review and modify the
              CAS Dean's final decision regardless of the
              CAS Dean's agreement or disagreement with the
              supervisor or Peer Review Committee (“PRC”)
              and absent either an appeal or a dissenting
              report. . . .

  (Doc. #64-2.)

        FGCU employees testified to a different view.          Chair Cudjoe

  testified that it was his understanding that the final decision

  has to come from the Provost, specifically in the context of a

  dissenting report.      (Doc. #70, Cudjoe Dep. 74:8-12; 92:22-93:9.)

  Mr. Brown, the Chair and a member of the PRC, stated that it was

  his belief that the Provost would make the final judgment if the



                                      24
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 25 of 39 PageID 5642



  Dean disagrees with the recommendation of the PRC, and that it was

  an exception that arises when a dissenting opinion is issued.

  (Doc. #68, Brown Dep. 64:2-6; 91:25-92:5; 115:11-16.) 3                Provost

  Toll stated that his letter was an “indication that the original

  final decision was the final final decision.”               (Doc. #75, Toll

  Dep. 21:14-15.)

        The Court deals with substance, not the labels utilized by

  the documents or FGCU officials and employees.                    The evidence

  convinces the Court that in the circumstances of this case and

  under the process utilized by FGCU, the decision of the Dean was

  at   best   a   tentative   final   decision,   and   not   the    established

  official position of FGCU as to the renewal or nonrenewal of

  plaintiff’s employment.       “The existence of careful procedures to

  assure fairness in the tenure decision should not obscure the

  principle that limitations periods normally commence when the

  employer’s decision is made.”         Delaware State College v. Ricks,

  449 U.S. 259, 261 (1980).       The process employed by FGCU after the

  Dean’s decision was not simply a remedy for the Dean’s decision,

  but an opportunity for the employee to influence the ultimate


        3Mr. Brown also stated, on cross-examination, that the Dean
  “communicates the final decision regarding extension”, and then it
  goes on appeal. When presented with a hypothetical, if plaintiff
  had done nothing in response to Dean Henry’s letter and just left
  her position at the end of the year, Mr. Brown said “I would think
  so” when asked: is it done? (Doc. #68, Brown Dep. 92:6-9; 116:14-
  23.)



                                        25
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 26 of 39 PageID 5643



  decision before it was made.        The actual final decision is made

  when the University has “established its official position – and

  made that position apparent to [the employee]. . . .”          Id. at 262.

  It was Provost Toll’s letter “[i]n response to the dissenting

  report” which, “[c]onsistent with Article 12.2” of the CBA, stated

  that plaintiff would not be offered further appointment beyond

  September 8, 2010.     (Id., p. 14.)      This decision agreed with the

  nonrenewal of plaintiff’s contract, but extended Dean Henry’s May

  6, 2010 termination date by about five months.              This was the

  decision which stated the official position of FGCU, and which

  triggered the time for filing an EEOC charge.

        The Court finds that the alleged discrimination in this case

  – the nonrenewal and termination – occurred on September 4, 2009.

  The EEOC Charge was timely filed, and plaintiff properly exhausted

  her administrative remedies except as discussed below.

                                      IV.

        Count II of the Amended Complaint alleges a claim of national

  origin discrimination under Title VII.        Plaintiff claims she is a

  member of a protected class because she was born in the United

  States, and that the “real reason” FGCU did not renew her contract

  was because of her national origin as a U.S. born person.            (Doc.

  #8, ¶¶69-76.)     This claim is both untimely, and alternatively,

  without any factual support.




                                      26
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 27 of 39 PageID 5644



        It is undisputed that the national origin claim was not

  specifically     identified        in     either   the   original      Charge     of

  Discrimination or the amended Charge of Discrimination.                        (Doc.

  #64-3, pp. 5-6.)      It is also undisputed that the National Origin

  box was not checked on the EEOC Intake Questionnaire.                  (Doc. #17-

  3, Composite Exh. C, p. 3.)              Plaintiff argues, however, that the

  claim is “like, or related to” the claims of discrimination which

  were actually made in the Charges, and was therefore properly

  exhausted.

        Because     a   Title        VII     plaintiff     must    first        exhaust

  administrative remedies by filing a timely discrimination charge

  with the EEOC, a “plaintiff's judicial complaint is limited by the

  scope of the EEOC investigation which can reasonably be expected

  to grow out of the charge of discrimination.”             Gregory v. Ga. Dep't

  of Human Res., 355 F.3d 1277, 1280 (11th Cir. 2004). To determine

  whether a complaint falls within this scope, the Court asks whether

  the judicial complaint is “like or related to, or grew out of, the

  allegations     contained     in    her     EEOC   charge.”      Id.     at    1280.

  Plaintiffs      may   not   raise        “[a]llegations     of   new     acts     of

  discrimination” in the judicial proceedings, Wu v. Thomas, 863

  F.2d 1543, 1547 (11th Cir. 1989), but the scope of an EEOC charge

  is not strictly interpreted, Gregory, 355 F.3d at 1280.

        “The [EEOC] defines national origin discrimination broadly as

  including, but not limited to, the denial of equal employment



                                            27
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 28 of 39 PageID 5645



  opportunity because of an individual's, or his or her ancestor's,

  place   of    origin;       or   because     an   individual    has    the    physical,

  cultural     or   linguistic        characteristics       of    a   national     origin

  group.”      29 C.F.R. § 1606.1.           See also Saint Francis Coll. v. Al-

  Khazraji, 481 U.S. 604, 614 (1987) (Brennan, J., concurring)

  (noting that national origin claims are often treated as ancestry

  or ethnicity claims, and birthplace alone is insufficient).

        Nothing in plaintiff’s EEOC filings would have placed the

  EEOC on notice that she was claiming FGCU engaged in discrimination

  against her because she was born in the United States.                                Both

  Charges state that plaintiff sent an email to the EEO Officer on

  May 30, 2009, regarding discrimination against her “due to my race

  and age;” plaintiff did not refer to her birth in the United States

  as a basis of the discrimination.                   Nothing plaintiff told EEOC

  provided      notice        of   this   “U.S.     born”   claim,      which    was    not

  sufficiently related to either race, age, or gender to allow EEOC

  to guide their investigation.                Plaintiff’s national origin claim

  was   not     like     or    related    to    any   of    her   actual       claims    of

  discrimination, and therefore was not properly exhausted with the

  EEOC.   Count II is therefore dismissed.

        Alternatively, plaintiff’s national origin claim lacks any

  factual support and therefore summary judgment is entered in favor

  of FGCU.     Plaintiff’s claim is that she was discriminated against

  based on national origin (i.e., being born in the United States)



                                               28
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 29 of 39 PageID 5646



  because she was replaced by a Caucasian foreign born male.            Even

  if it could be said that being born in the United States is like

  or related to any of the actual allegations made by plaintiff,

  summary judgment would still be granted because there is absolutely

  no evidence supporting such a claim.          Literally nothing in the

  record suggests the FGCU did not renew plaintiff’s contract because

  they wanted to hire someone who was not born in the United States.

  Indeed, the record establishes that FGCU first offered the position

  to Krista Bywater, but she declined the job offer.            It was only

  afterwards that the position was offered to Jan-Martijn Meij, a

  white male who, because he had an H1 visa, was presumably born

  outside the United States.      (Doc. #74-3, Strahorn Exh. 22, p. 82;

  id., Strahorn Exh. 23, p. 83; Doc. #74, Strahorn Dep. 20:5-6.)

  Nothing suggests that plaintiff’s nonrenewal and termination was

  because she was born in the United States and FGCU wanted to hire

  a foreign born person.

        The Court finds that that national origin claim in Count II

  is not like, or even related to the initial charge's allegations

  of race discrimination.      Count II is dismissed with prejudice as

  time-barred.     Alternatively, if it is like or related, summary

  judgment is granted in favor of defendant as to Count II.




                                      29
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 30 of 39 PageID 5647



                                          V.

        Counts I and III assert claims or discrimination based on

  race and gender under Title VII, 42 U.S.C. § 2000e-2(a)(1). 4                  The

  framework for plaintiff to establish her prima facie case of

  discrimination     is   well    established      under    the    burden-shifting

  analysis of McDonnell Doulgas Corp. v. Green, 411 U.S. 792 (1973):

  Plaintiff must show that she was a qualified member of a protected

  class, that she was subjected to an adverse employment action, and

  that this was different than similarly situated employees outside

  the protected class.       Alvarez v. Royal Atl. Developers, Inc., 610

  F.3d 1253, 1264 (11th Cir. 2010).            “When the plaintiff establishes

  a   prima     facie     case,   which        creates     the     presumption    of

  discrimination, the burden of production shifts to the employer to

  articulate     a   legitimate,     nondiscriminatory            reason   for   its

  actions.” Wilson v. B/E Aerospace, Inc., 376 F.3d 1079, 1087 (11th

  Cir. 2004).    “If the employer satisfies its burden by articulating

  one or more reasons, then the presumption of discrimination is

  rebutted, and the burden of production shifts to the plaintiff to




        4Although raised in the Charge of Discrimination, plaintiff
  does not allege age discrimination in the Amended Complaint.



                                          30
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 31 of 39 PageID 5648



  offer evidence that the alleged reason of the employer is a pretext

  for illegal discrimination.”       Id.

        For purposes of summary judgment, defendant does not contest

  that plaintiff was qualified for the position, that she is a member

  of a protected class, and that she was subjected to an adverse

  employment action.     Defendant argues that plaintiff has not shown

  discrimination because she has not shown comparators.            Plaintiff

  does not contest the absence of comparators, but argues that a

  comparator is not required if discrimination may be inferred from

  the      circumstantial    evidence,     and    there     is   sufficient

  circumstantial evidence present in this case.

        A plaintiff usually sets forth her prima facie case through

  indirect, circumstantial evidence 5, and by use of comparators,

  Chapter 7 Tr. v. Gate Gourmet, Inc., 683 F.3d 1249, 1255 (11th

  Cir. 2012), but the “methods of presenting a prima facie case are

  not fixed; they are flexible and depend to a large degree upon the

  employment situation”, Wilson, 376 F.3d at 1087.           The failure to

  produce a comparator will not “necessarily doom the plaintiff’s

  case.”      Gate Gourmet, Inc., 683 F.3d at 1255.        For example, in




        5If the evidence only suggests, but does not prove
  discriminatory intent, it is circumstantial evidence. Burrell v.
  Bd. of Trustees of Georgia Military Coll., 125 F.3d 1390, 1393
  (11th Cir. 1997).



                                      31
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 32 of 39 PageID 5649




  Gate Gourmet, 6 the record contained enough non-comparator evidence

  to support the claim of pregnancy discrimination.             A plaintiff

              will always survive summary judgment if [s]he
              presents circumstantial evidence that creates
              a triable issue concerning the employer's
              discriminatory intent. [ ] A triable issue
              of fact exists if the record, viewed in a light
              most favorable to the plaintiff, presents “a
              convincing mosaic of circumstantial evidence
              that would allow a jury to infer intentional
              discrimination by the decisionmaker.

  Smith v. Lockheed-Martin Corp., 644 F.3d 1321, 1328 (11th Cir.

  2011) (citations omitted).        The record, viewed in a light most

  favorable   to   the   plaintiff,    presents    a   convincing     mosaic   of

  circumstantial     evidence   that    would     allow    a   jury   to   infer

  intentional discrimination by the decisionmaker.

        “The employer may fire an employee for a good reason, a bad

  reason, a reason based on erroneous facts, or for no reason at

  all, as long as its action is not for a discriminatory reason.”

  Nix v. WLCY Radio/Rahall Commc'ns, 738 F.2d 1181, 1187 (11th Cir.

  1984).    The Court is “not in the business of adjudging whether

  employment decisions are prudent or fair.               Instead, [the] sole

  concern is whether unlawful discriminatory animus motivates a

  challenged employment decision.”          Damon v. Fleming Supermarkets of

  Fla., Inc., 196 F.3d 1354, 1361 (11th Cir. 1999) (citing Nix, 738




        6Chapter 7 Tr. v. Gate Gourmet, Inc., 683 F.3d 1249, 1256
  (11th Cir. 2012).



                                       32
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 33 of 39 PageID 5650



  F.2d at 1187).    Ultimately, the burden remains with plaintiff who

  must show that reasons proffered were pretextual.           Texas Dep't of

  Cmty. Affairs v. Burdine, 450 U.S. 248, 256 (1981).

        Defendant    has   identified      legitimate,   nondiscriminatory

  reasons   for   nonrenewal   of   plaintiff’s   contract.      Dean   Henry

  identified the non-completion of PIP requirements as the basis for

  the nonrenewal decision, including:          (1) failing to follow the

  correct procedure when administering the Student Assessment of

  Instruction in each course, i.e., by administering the assessment

  during a class examination; (2) failing to submit all paperwork on

  time, including a Sabbatical Report, and refusing to provide a

  copy when requested; and (3) failing to provide a complete course

  syllabus on the first day of class, i.e., that requires the

  requisite inclusion of certain policies.          (Doc. #65-9, pp. 179-

  180.)   While these reasons appear relatively trivial, they came on

  the heels of numerous complaints by students and by Chair Strahorn

  leading to plaintiff’s probationary status before the decision not

  to renew.

        Plaintiff responds to each of the three reasons for nonrenewal

  articulated by Dean Henry as follows:       Plaintiff first argues that

  the Sabbatical Report was indeed submitted, but to President

  Bradshaw.    Plaintiff states that no one provided any notice that

  it was not available or required, or an issue prior to Dean Henry’s

  email request for a copy (which she refused).               Prior to Dean



                                      33
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 34 of 39 PageID 5651



  Henry’s request for a copy, the Sabbatical Report was not even

  considered by Chair Cudjoe or the PRC in their evaluations.           (Doc.

  #79, pp. 20-22.)        Chair Cudjoe testified that the PIC did not

  reference the sabbatical because it was taken in the previous

  academic year and so didn’t fall under Chair Cudjoe’s time as

  chair.   (Doc. #70, Cudjoe Dep. 84:15-19.)         Chair Cudjoe could not

  confirm if the sabbatical report was ever submitted, and it was

  never discussed or asked about by the dean or provost.                (Id.,

  85:23-86:2; 86:8-13.)

        Plaintiff notes that she notified Chair Cudjoe that she was

  administering the Student Assessment of Instruction on an exam

  day, but that neither Chair Cudjoe nor the PRC felt that it

  warranted nonrenewal.        Plaintiff points out that a Caucasian

  professor who did not report her mistake of failing altogether to

  distribute the Student Assessment of Instruction was found to be

  overall satisfactory, and had her contract renewed.            Chair Cudjoe

  testified   that   he   would   have    elected   to   not   administer   the

  evaluation rather than doing it on an examination day “because

  it's spelled out that [you] don't administer it on the date you're

  giving an exam, and there's a reason for that.           To make sure that

  students are not pressured to answer questions at the evaluation

  one way or the other due to the exam.”            (Doc. #70, Cudjoe Dep.

  81:4-8.)    Chair Cudjoe would not have denied reinstatement on this

  issue alone.    (Id., 82:11-13.)



                                         34
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 35 of 39 PageID 5652



        Plaintiff alleges that the Syllabi were reviewed by both Chair

  Cudjoe, and the PRC, and found to be sufficient, but Dean Henry

  concluded    otherwise    by   pointing    out   deficiencies.     Plaintiff

  argues   that    there   was   no   guideline    or   policy   requiring   the

  inclusion of certain language at the time, and therefore Dean Henry

  imposed additional requirements on plaintiff to legitimize her

  decision to not renew plaintiff’s contract.              On March 27, 2009,

  after the semester had started and syllabi were all done, defendant

  approved Guidelines for Course Syllabus.              (Doc. #70, Cudjoe Dep.

  90:10-24.)      Chair Cudjoe did not think the syllabi were deficient.

  (Id., 92:8-11.)     Plaintiff provided an Affidavit (Doc. #79-1, Exh.

  1) and attached a composite of other faculty members’ syllabi that

  also lacked the requisite language, but none of them were denied

  renewal or disciplined.

        “[T]he judge's function is not himself to weigh the evidence

  and determine the truth of the matter but to determine whether

  there is a genuine issue for trial.”             Anderson v. Liberty Lobby,

  Inc., 477 U.S. at 249.         In this case, the Court is not satisfied

  that the undisputed material facts establish that a reasonable

  jury could not find that the nonrenewal decision was the product

  of racial and/or gender discrimination.           While the evidence is far

  from overwhelming, summary judgment is “improper” if the fact-

  finder must weigh the credibility of the deponents.            Strickland v.




                                        35
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 36 of 39 PageID 5653



  Norfolk S. Ry. Co., 692 F.3d 1151, 1162 (11th Cir. 2012).               The

  motion will be denied as to Counts I and III.

                                      VI.

        Count IV alleges a claim of retaliation.            Title VII also

  prohibits retaliation against an employee who opposes unlawful

  employment discrimination, or otherwise charges or participates in

  an    investigation      or    hearing    into     unlawful     employment

  discrimination.    Crawford v. Carroll, 529 F.3d 961, 970 (11th Cir.

  2008). “To establish a prima facie case of retaliation under Title

  VII, a plaintiff must show that (1) [s]he engaged in statutorily

  protected expression; (2) [s]he suffered an adverse employment

  action; and (3) there is some causal relation between the two

  events.”    Olmsted v. Taco Bell Corp., 141 F.3d 1457, 1460 (11th

  Cir. 1998).

        “Title VII retaliation claims must be proved according to

  traditional principles of but-for causation. . . .”           Univ. of Tex.

  Sw. Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2533 (2013).                When

  establishing a causal connection between the protected activity

  and the adverse action, generally a plaintiff must show that: (1)

  the decision-makers were aware of the protected conduct and (2)

  the protected conduct and adverse action(s) were not “wholly

  unrelated.”    Walker v. Sec’y, U.S. Dep’t of Air Force, 518 F. App’x

  626, 628 (11th Cir. 2013) (citation omitted).         The decision-maker




                                      36
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 37 of 39 PageID 5654



  must actually be aware of the protected activity.            Goldsmith v.

  City of Atmore, 996 F.2d 1155, 1163 (11th Cir. 1993).

        Plaintiff alleges that she complained of race discrimination

  and harassment to Dr. Charles McKinney 7 in Fall of 2008.            (Doc.

  #79-1, Exh. 1, ¶ 7.)        In an email dated May 30, 2009, to Dr.

  McKinney, plaintiff stated:

              As you know, I have been and continue to be
              very overwhelmed, depressed, and concerned
              about the treatment I have been receiving
              these last few years. While I have no doubt,
              that there has been the ever present subtle
              racism since I came to FGCU, and I have
              experienced the periodic harassment, based
              perhaps on gender and perhaps based on race;
              I believe, over these past two years, the
              overt harassment, micromanaging and other
              behaviors culminating in my termination based
              upon invalid evaluations and other invalid
              “reasons”    is  a    direct     result   of   age
              discrimination.      It began when I turned 60
              years old, and has not ceased since then. I
              have   expressed    this   to    you   and   other
              administrators in a speculative way over the
              past couple of years . . . “Could this be
              happening because I am an older faculty
              member?” . . . but, as I assess the evolution
              of events and behaviors, now I am convinced.
              All of a sudden when I turned 60 years old (my
              birthday    was   May     13,    2007    and   the
              unsatisfactory evaluation was given in June)
              things that had been “normal and acceptable”
              were all of a sudden were not acceptable. You
              have    to   admit,    it     seems   more    than
              coincidental.


        7Prior to his retirement, Dr. McKinney was the Ombudsman and
  special assistant to the President, Doc. #67, Bradshaw Dep. 28:20-
  22, and/or the Director of the Office Equity and Diversity, Doc.
  #75, Toll Dep. 123:9-10.



                                      37
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 38 of 39 PageID 5655



  (Doc. #65-9, Exh. 114, p. 296; Doc. #75-5, Toll Exh. 31, p. 17.)

  Plaintiff also stated that she spoke to Dr. McKinney a number of

  times in the past about race discrimination, and with Dr. Bradshaw.

  (Doc. #65-1, Plaintiff Dep. 12:11-13:2.)        Plaintiff did not recall

  having a conversation regarding race discrimination with anyone

  else except members of the union.           Plaintiff stated that Dr.

  McKinney spoke to Provost Toll, albeit informally.            (Id. 15:24-

  16:6.)     Plaintiff also emailed the EEO Officer on May 30, 2009,

  and May 30, 2009, fell between informal resolution meetings, and

  before the Provost’s final decision.        See supra pp. 15, 17, 28.

        Dr. Bradshaw only recalled plaintiff stating that she was

  being treated unfairly, but he did not recall plaintiff using the

  term discrimination or harassment.       (Doc. #67, Bradshaw Dep. 9:21-

  23, 10:3-4.)    Provost Toll recalled having conversations regarding

  plaintiff with Dr. McKinney, about how she sought him out to talk,

  but Provost Toll did not specifically recall that he was told that

  plaintiff complained of discrimination.           (Doc. #75, Toll Dep.

  123:23-124:16.)      Dean Henry stated that Dr. McKinney did not

  mention discrimination, in any form, and did not tell her that

  plaintiff believed she was being discriminated against on the basis

  of race.    (Doc. #72, Henry Dep. 229:12-18.)

        If    plaintiff    reasonably      believed,    subjectively      and

  objectively and in good faith, that her employer engaged in an

  unlawful employment practice in violation of Title VII, she can



                                      38
Case 2:14-cv-00050-JES-MRM Document 109 Filed 01/23/17 Page 39 of 39 PageID 5656



  make a prima facie case of retaliation.        Little v. United Techs.,

  Carrier Transicold Div., 103 F.3d 956, 960 (11th Cir. 1997).            The

  Court finds that the undisputed material facts do not entitle

  defendant to summary judgment on the retaliation claim, and that

  a jury may indeed find that her termination was caused by one or

  more protected activities.

        Accordingly, it is now

        ORDERED:

        Defendant’s Motion for Summary Judgment (Doc. #64) is GRANTED

  IN PART AND DENIED IN PART.          The motion is denied as to the

  timeliness of the EEOC Charge of Discrimination; and granted as to

  Count II (national origin) as time-barred or, alternatively, for

  lack of any supporting evidence, and denied as to Count I (race)

  and Count III (gender) and Count IV (retaliation) on the merits.

        DONE AND ORDERED at Fort Myers, Florida, this         23rd    day of

  January, 2017.




  Copies:
  Counsel of record




                                      39
